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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                              No. 3:18-CR-00319-JO-1

                Plaintiff,                             MOTION FOR RELEASE
                                                       FROM CUSTODY
                vs.

MARK LEROY DENCKLAU,

                Defendant.
______________________________________


        Defendant Mark Leroy Dencklau, through his attorney, Erik Eklund,
respectfully moves this Court for a Review of Detention pursuant to 18 U.S.C. § 3142,
and a further determination whether any condition or combination of conditions
will reasonably assure his appearance at trial and provide for the safety of the
community. Mr. Dencklau is presently in the custody of the United States Marshals.
This Motion is supported by Declaration of Counsel.


        RESPECTFULLY SUBMITTED this 29th day of August, 2018.



                                                       /s/Erik E. Eklund
                                                       Erik E. Eklund
                                                       Attorney for Defendant




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